 1          John R. Tomlinson, Jr., Esq.              THE HONORABLE TIMOTHY W. DORE
            Barokas Martin & Tomlinson                                      Chapter 7
 2          1000 Second Avenue, Suite 3660
 3          Seattle, Washington 98104
            (206) 621-1871
 4          (206) 621-9907 (fax)
            Attorney for Skymatt Properties, LLC
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 8
                        IN THE UNITED STATES BANKRUPTCY COURT
 9                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10
        In Re:                                             NO. 18-14095-TWD
11
        GLOBAL BARISTAS US, LLC                            SKYMATT PROPERTIES, LLC’S
12
                                                           LIST OF CREDITORS AND
13                            Debtor.                      PARTIES IN INTEREST

14
15               Pursuant to this Court’s December 10, 2018 Order Directing Petitioning Creditors

16     to File a List of Creditors and Parties in Interest, Creditor Skymatt Properties, LLC
17     identifies itself as follows:
18
                    Skymatt Properties, LLC
19                  c/o John R. Tomlinson, Jr.
                    1000 Second Avenue, Suite 3660
20
                    Seattle, Washington 98104
21                  206.621.1871
                    jrt@bmatlaw.com
22                  lae@bmatlaw.com
23
                 Skymatt Properties, LLC’s claim is based upon a Judgment obtained against
24
       Debtor for breach of a written commercial property Lease (copy of Judgment attached).
25
26               Creditor’s claim is unsecured.

27     //
28
       //
       SKYMATT PROPERTIES, LLC’S LIST OF CREDITORS AND             BAROKAS MARTIN & TOMLINSON
                                                                            ATTORNEYS AT LAW
       PARTIES IN INTEREST - 1                                        1000 SECOND AVENUE, SUITE 3660
                                                                        SEATTLE, WASHINGTON 98104
                                                                         TELEPHONE (206) 621-1871
                                                                             FAX (206) 621-9907
     Case 18-14095-TWD         Doc 26     Filed 12/14/18    Ent. 12/14/18 10:37:56         Pg. 1 of 2
 1            DATED this 14th day of December, 2018.
 2                                                  BAROKAS MARTIN & TOMLINSON
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 4
                                                    By:    /s/ John R. Tomlinson, Jr.
 5
                                                    John R. Tomlinson Jr., WSBA#14124
 6                                                  Attorney for Skymatt Properties, LLC

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                                       CERTIFICATE OF SERVICE
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                On this 14th day of December, 2018, I caused the foregoing pleading to be
12     electronically filed with the Clerk of the Court using the CM/ECF systems, which caused
       Registered Participants to be served by electronic means as fully reflected on the Notice
13     of Electronic Filing. I also caused a true and correct copy of the foregoing pleading to be
14     served by regular mail, first-class postage prepaid to the following non-ECF registered
       parties:
15
              N/A
16
17           I hereby certify under penalty of perjury under the laws of the State of
       Washington that the foregoing is true and correct.
18
19
                                                    /s/ Lisa Sebree
20                                                  Lisa Sebree
21
22
23
24
25
26
27
28
       SKYMATT PROPERTIES, LLC’S LIST OF CREDITORS AND                BAROKAS MARTIN & TOMLINSON
                                                                             ATTORNEYS AT LAW
       PARTIES IN INTEREST - 2                                         1000 SECOND AVENUE, SUITE 3660
                                                                         SEATTLE, WASHINGTON 98104
                                                                          TELEPHONE (206) 621-1871
                                                                              FAX (206) 621-9907
     Case 18-14095-TWD       Doc 26     Filed 12/14/18     Ent. 12/14/18 10:37:56           Pg. 2 of 2
